995 F.2d 1063
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Anthony MELI, Petitioner-Appellant,v.Patrick WHALEN, Warden;  U.S. Parole Commission,Respondents-Appellees.
    No. 92-7215.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 25, 1993Decided:  June 7, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CA-92-305)
      William Anthony Meli, Appellant Pro Se.
      Debra Jean Prillaman, Assistant United States Attorney, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before HALL, PHILLIPS, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Anthony Meli appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2241 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Meli v. Whalen, No. CA-92-305 (E.D. Va.  Oct. 26, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    